Case 21-50644            Doc 276        Filed 10/02/23         Entered 10/02/23 15:41:35                 Page 1 of 2




                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION

                                                                 :
    In re                                                        :    (Chapter 7)
                                                                 :
     THE NASH ENGINEERING COMPANY,                               :    CASE NO. 21-50644-JAM
                                                                 :
                           Debtor.                               :    October 2, 2023
                                                                 :
                                                                 :

                TRUSTEE’S PRELIMINARY REPORT ON COMPLIANCE WITH
                   ORDER ESTABLISHING PROCEDURES FOR SERVICE
                         UPON PERSONAL INJURY CLAIMANTS

            On August 11, 2023, this Court entered its Order Granting in Part Motion for Order to

Establish Procedures for Service Upon Personal Injury Claimants [ECF No. 244] (the “Order”)

establishing requirements for service of notices and pleadings in this case upon asbestos personal

injury claimants listed in the Debtor’s filed schedules (“Scheduled PI Claimants”). Thereafter, the

Court issued a Supplemental Order requiring proofs of claim filed in compliance with the Order

to be filed electronically. In addition to serving the Order on all counsel to the Scheduled PI

Claimants, the Trustee (through counsel) has communicated with them to underline the urgency

of complying with the Order, and responded to dozens of emails and phone calls for assistance

with compliance. As of the date of the filing of this Preliminary Report, a total of 1,539 claims

have been filed. During the period from entry of the Order through the compliance deadline of

September 29, 2023, established by the Order, approximately 1,422 additional proofs of claim

were filed, almost all of them for personal injury claimants in response to the Order.1 In addition,

the Trustee has been furnished the names and addresses of approximately 156 Scheduled PI


1
  The Trustee is in the process of determining how many of the proofs of claim are for Scheduled PI Claimants. A
significant number of the new claims are for claims that were not yet the subject of pending litigation as of the Debtor’s
chapter 7 filing and therefore were not individually known to the Debtor so as to be included in the Debtor’s schedules.
Case 21-50644       Doc 276      Filed 10/02/23     Entered 10/02/23 15:41:35        Page 2 of 2




Claimants so that, pursuant to the Order, they can be served directly rather than through counsel.

As has been the Trustee’s practice following the issuance of the Order, the Trustee expects to file

by Wednesday, October 4, 2023, an Amended Service List updated through the preceding Friday,

September 29, 2023, identifying personal injury claimants to be served at an address listed on a

proof of claim for such claimant, or such claimant’s direct address. The Trustee is also in the

process of preparing a Compliance Report that will list each Scheduled PI Claimant with a notation

concerning whether and how compliance with the Order has been achieved.

       Despite the express terms of the Order and the Trustee’s efforts to obtain compliance as to

all Scheduled PI Claimants, it is expected that the Compliance Report will identify a significant

number as to which compliance has not yet been accomplished. The Trustee is committed to

pursuing compliance with the Order, and would welcome a discussion with the Court concerning

appropriate next steps.

                                      Respectfully submitted,

                                      GEORGE I. ROUMELIOTIS, CHAPTER 7 TRUSTEE

                                      By his counsel,

                                      __/s/ Taruna Garg_________________________
                                      Daniel C. Cohn, Esq. (pro hac vice admitted)
                                      Taruna Garg, Esq. (ct28652)
                                      Murtha Cullina LLP
                                      107 Elm Street
                                      Stamford, CT 06902
                                      Telephone: (203) 653-5400
                                      dcohn@murthalaw.com
                                      tgarg@murthalaw.com




                                                2
